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                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE STATE OF IDAHO



 MARTIN “DICK” CHENEY and
 FARRIS CHENEY, Individually and
 as Husband and Wife,                               Case No. CV 07-131-C-EJL

           Plaintiffs,
                                                    ORDER OF REMAND
 vs.

 USLIFE CREDIT LIFE INSURANCE
 COMPANY, AMERICAN GENERAL
 ASSURANCE COMPANY formally
 known as USLIFE CREDIT LIFE
 INSURANCE COMPANY,
 AMERICAN INTERNATIONAL
 GROUP, INC. (AIG), and
 AMERICAN GENERAL LIFE
 COMPANIES,

           Defendants.

       THIS MATTER having come before this Court pursuant to the parties’ Stipulation to

Limit Damages and Remand to State Court, and good cause appearing therefore,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED, and this does order,

adjudge and decree that the parties’ stipulation (Dkt. No. 5) is APPROVED. The above-entitled

cause is HEREBY REMANDED to the District Court of the Second Judicial District of the State

of Idaho, in and for the County of Nez Perce.

                                                  DATED: April 26, 2007




                                                  Honorable Edward J. Lodge
                                                  U. S. District Judge




ORDER OF REMAND - 1
